                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                 WESTERN DIVISION

                                                              CIVIL ACTION
 TIMOTHY CLAIR SHANNON,
                                                              No. C08-4059 MWB
          Plaintiff,
 vs.
                                                              PLAINTIFF’S FIRST MOTION IN
 OFFICER MICHAEL KOEHLER, in his                              LIMINE TO BAR REFERENCE TO
 individual and official capacities; SIOUX                    CERTAIN FACTS NOT KNOWN
 CITY POLICE DEPARTMENT; JOSEPH C.                            AT THE TIME OF PLAINTIFF’S
 FRISBIE individually and in his official                     ARREST
 capacity.
          Defendants.

          COMES NOW the Plaintiff in the above-entitled case and moves the court in

Limine for an order instructing the Defendants to refrain absolutely from making any

direct or indirect reference whatsoever in person, by counsel, or through witnesses, to the

evidence hereinafter specified, on the following grounds:

          1. The case is set for trial beginning January 11, 2010.

          2. According to the complaint the trial will involve a determination of these basic

issues:

          a.      Whether Officer Koehler was reasonable in his use of force against the
                  Plaintiff in accord with Plaintiff’s rights under the 4th Amendment; and

          b.      Whether the Chief Joseph Frisbie and the City have established,
                  authorized, or tolerated policies and practices that permit or encourage
                  excessive force violations of constitutional rights of the Plaintiff and
                  others like him.

          3. The Plaintiff is informed, believes, and hence alleges that at said trial the

Defendants will attempt to introduce evidence, make reference to the fact, or otherwise

leave the jury with the impression that Officer Michael Koehler has special knowledge




       Case 5:08-cv-04059-MWB Document 30 Filed 08/25/09 Page 1 of 3
that the Plaintiff and two witnesses, Christina Navrkal and Jill Murad were horse playing

and Plaintiff swung his hand at, and possibly contacted, Navrkal.

        4. It is immaterial and unnecessary to the disposition of the above referenced

issues in this case and contrary to the law of 42 U.S.C. § 1983 and Fed. Rule Evid. 401

and 402 to permit such evidence or inference and would be highly prejudicial to the

Plaintiff in the minds of the jury.

        5. An ordinary objection during the course of trial, even if sustained with proper

instructions to the jury, will not remove such effect because the jury will become

confused about the issues of this case (whether Officer Koehler was reasonable in his use

of force aganst the Plaintiff) and instead will focus on collateral immaterial concerns

(whether Plaintiff is guilty of a prior assault Officer Koehler did not know about when he

sought to investigate Plaintiff’s need for an ambulance).

        6. Pursuant to L.R. 7(l), the undersigned attempted to confer with counsel for the

Defendants regarding this motion but opposing counsel was out of the office. Counsel

for the Defendants does not consent to this motion.

        WHEREFORE, Plaintiff prays this court to exercise its discretion and make an

order absolutely prohibiting said offer or reference certain facts not known at the time of

the Plaintiff’s arrest.




                                  2
      Case 5:08-cv-04059-MWB Document 30 Filed 08/25/09 Page 2 of 3
                                                     BERENSTEIN, MOORE, HEFFERNAN,
                                                     MOELLER & JOHNSON, L.L.P.

                                                     By:          /s/ Jason Gann
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                                                           ATTORNEY FOR PLAINTIFF
     CERTIFICATE OF SERVICE

I hereby certify that on August 25, 2009, I
electronically filed the foregoing with the Clerk
of Court using the ECF system which will
send notification of such filing to the following:

          Jeff W. Wright

By:____/s/ Jason Gann_______________




                                   3
       Case 5:08-cv-04059-MWB Document 30 Filed 08/25/09 Page 3 of 3
